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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §          Case No. 2:05-CR-3-9- JRG-RSP
                                                 §
 MARCUS EARL DOTREY                              §

                         REPORT AND RECOMMENDATION OF
                       THE UNITED STATES MAGISTRATE JUDGE

        On February 6, 2014, the undersigned held a final hearing on the Government=s petition

 (#1301) to revoke supervised release. The Government was represented by Assistant United

 States Attorney Ryan Locker. The Defendant, Marcus Earl Dotrey, was represented by Greg

 Waldron.

        Marcus Earl Dotrey was sentenced on February 21, 2006, before The Honorable T. John

 Ward of the Eastern District of Texas B Marshall Division, after pleading guilty to the offense of

 Possession with Intent to Distribute and Distribution of Cocaine (Count 59), a Class C Felony;

 and, Use and Possession of a Firearm During a Drug Trafficking Crime (Count 81), a Class A

 Felony. Count 59 carried a statutory term of imprisonment of not more than 20 years and Count

 81 carried a statutory term of imprisonment of not less than 5 years or more than life. The

 guideline imprisonment range, based on a total offense level of 10 and a criminal history

 category of IV, was 15 to 21 months for Count 59 and 60 months for count 81. Marcus Earl

 Dotrey was subsequently sentenced to a term of 15 months on Count 59 of the Indictment and a

 term of 60 months as to Count 81 of the Indictment, to be served consecutively to any other

 sentence, to produce a total punishment of 75 months, subject to the standard conditions of

 release, plus special conditions to include participation in a program of testing and treatment for
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 drug abuse, under the guidance and direction of the U.S. Probation Office, until such time as the

 defendant is released from the program by the probation officer; and, the defendant shall provide

 the probation officer with access to any requested financial information for purposes of

 monitoring his efforts to obtain and maintain lawful employment.

        On September 15, 2010, Marcus Earl Dotrey completed his period of imprisonment and

 began service of the supervision term.

        On March 12, 2013, the conditions of supervision were modified as follows:            The

 defendant shall abstain from the use of alcohol while on supervised release.

        1) Standard: The Defendant shall not commit another federal, state, or local crime.

 Specifically, the Government alleges as follows:      A three count indictment in the Eastern

 District of Texas – Marshall Division, has recently been returned against Marcus Earl Dotrey, in

 Docket No. 2:13cr4, alleging the following charges to have occurred on or about January 10,

 2013: Count One: Possession with Intent to Distribute Marijuana, in Violation of 21 U.S.C.

 841 (a) (1); Count Two: Use, carrying and possession of a firearm during and in furtherance of

 a drug trafficking crime, in Violation of 18 U.S.C. 924c; and Count Three: Felon in Possession

 of a Firearm, in Violation of 18 U.S.C. 922 (g) (1). Mr. Dotrey made his initial appearance for

 the above allegations on March 11, 2013. On December 3, 2013, Defendant pled guilty to

 Count 2 of the Indictment and was later sentenced to a term of 300 months imprisonment and

 5 years supervised release.
        The Court scheduled a revocation hearing for February 6, 2014. At the hearing on the

 Government=s petition, and after consenting to the undersigned taking the plea, the Defendant

 pled true to the allegations as set forth above. Based on the Defendant=s plea of true to the


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 allegations, and with no objection by the Defendant or the Government, the undersigned found

 that the Defendant did violate conditions of his supervised release, as alleged in the U.S.

 Probation Office=s petition.

        The parties both agreed that the appropriate disposition of this Petition is that Defendant

 be committed to the custody of the Bureau of Prisons to be imprisoned for 37 months to run

 concurrent with the sentence in 2:13cr04. Accordingly,

        IT IS RECOMMENDED that the Defendant=s plea of true to the allegations, as set forth

 in the Government=s petition, be ACCEPTED. Based upon the Defendant=s plea of true to the

 allegations, it is further recommended that the Court find that the Defendant violated the

 conditions of his supervised release. It is further

        RECOMMENDED that the Defendant=s supervised release be REVOKED.                       It is

 further RECOMMENDED that the Defendant be committed to the custody of the Bureau of

 Prisons to be imprisoned for a term of 37 months to run concurrent with the sentence in

 2:13cr04.

        At the close of the February 6, 2014 revocation hearing, Defendant, defense counsel, and

 counsel for the Government each signed a standard form waiving their right to object to the

 proposed findings and recommendations contained in this report, consenting to revocation of

 supervised release as recommended herein and to the imposition of the above sentence.

 Defendant also waived his right to be present and speak before the District Judge imposes the

 recommended sentence. Therefore, the Court may act on the findings and recommendation

 immediately.




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        SIGNED this 3rd day of January, 2012.
        SIGNED this 12th day of February, 2014.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE




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